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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW HAMPSHIRE

Jennifer Artesi                                      )
                                                     )
v.                                                   )        Civil Action No.: 1:19-CV-00214-AJ
                                                     )
DeMoulas Super Markets, Inc. d/b/a                   )
Market Basket, and                                   )
Dennis Labatte                                       )


    REPLY TO PLAINTIFF’S OBJECTION DEFENDANTS’ MOTION FOR SUMMARY
                               JUDGMENT

        NOW COME the Defendants, by and through their counsel, and submit this Reply to

Plaintiff’s Objection 1 to Motion for Summary Judgment.

Introduction

        Defendants’ reply to Plaintiff’s arguments while attempting to avoid undue repetition.

Defendants focus on the error in Plaintiff’s fundamental premise of her Objection, which is that

her FMLA leave did not run out in early January of 2017—something she never raised in any of

her prior pleadings (see Complaint, Doc 1-1, Count VII Violation Family Medical Leave Act, ¶¶

72-78); in discovery, or during her deposition. Plaintiff exhausted her available FMLA leave in

early January 2017 because from March to June of 2016 she had taken approximately eleven

weeks of FMLA leave, as she testified at deposition. In addition, DeMoulas (“DSM”) records

indicate that Plaintiff received her 2016 FMLA leave documentation via certified mail from

DSM on April 1, 2016 and May 28, 2016, as further detailed below.

        I.        PLAINTIFF WAS NOT TERMINATED DUE TO DISCRIMINATION AS
                  SHE ABANDONED HER JOB IN 2017 AFTER HER AVAILABLE FMLA
                  LEAVE WAS EXHAUSTED



1
 To the extent Plaintiff refers to a self-created chronology (Doc. 18-18) that contains references to statements by
others, the Court should reject these unsworn inclusions.
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        Plaintiff incorrectly argues (for the first time in her objection) that she had not taken

FMLA leave in 2016 and therefore had not abandoned her job in 2017 when she was absent

beyond her available leave. (Cf. Complaint ¶¶ 14, 41, 75). She testified at deposition that she

took FMLA leave in 2016 and DSM’s records show that the 2016 leave was taken under the

FMLA. 2 (Artesi Depo. pp. 120-121; Supp. Aff. Of Joseph Schmidt, Exhibit J, Redacted 2016

FMLA records).

        Plaintiff acknowledges that she took FMLA leave in other years, while working for

DSM, and that she was familiar with the FMLA process, having availed herself of it on four

prior occasions. (Artesi Depo. pp. 122: 5-7; 44:2-10; 113:20-23; 114:1-4; Supp. Aff. Schmidt,

Exhibit K, Artesi signed acknowledgements of FMLA process 2009—2016 contained within

personnel file). These prior FMLA leaves included time in 2000 for inpatient care (Artesi Depo.

pp. 60-61); October 2005 (Artesi Depo. pp. 114-115); June 2011for shoulder surgery (Artesi

Depo. p. 116:1-22); and August 2013 for a torn bicep (Artesi Depo. pp. 119-120). Time card

records corroborate her FMLA leaves in 2011 and 2013, as well as 2016. (Supp. Aff. Schmidt,

Ex. L.) She states that she took FMLA leave “[P]robably [for] all my surgeries.” Artesi Depo. p.

122: 8-9. The leave taken in 2016 was when she was out for a hysterectomy. Plaintiff’s

Objection, p. 20 (“[I]n the middle of 2016, …[she] was out for her hysterectomy.”). Her

hysterectomy was a surgery and, therefore, she was out for FMLA leave in the middle of 2016.

        Plaintiff’s statement in her affidavit that she does not “recall” her leave in 2016 being

designated as FMLA leave (Doc. 18-2, ¶ 9) should be set aside as inconsistent with her previous




2
 Plaintiff’s claim that [T]he …Artesi deposition…refer[s] only to “leave,” not “FMLA leave,” is plainly inaccurate.
See Doc. 18-1, Plaintiff’s Memo, p. 2, para 4. The questioning of Plaintiff in her deposition regarding leave at
DeMoulas clearly refers to “FMLA” leave. See Depo Doc. [16-4], p. 122:2-9.

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sworn deposition testimony and 2016 FMLA records. Any other such information should also be

set aside and not considered for the same reason. See, e.g., Aff. of Mona Tardiff, ¶ 3.

       “[W]here a party has given clear answers to unambiguous questions in discovery, that

party cannot create a conflict and resist summary judgment with an affidavit that is clearly

contradictory, unless there is a satisfactory explanation of why the testimony [has] changed."

Escribano-Reyes v. Professional Hepa Certificate Corp., 817 F.3d 380, 386 (1st Cir. 2016). See

also Gallagher v. Unitil, 14-cv-20-SM, Opinion No. 2015 DNH 179, 9/17/15 at p. 3 (non-

moving party cannot create a factual dispute by submitting a contradictory affidavit, without

adequate explanation, citations omitted). Plaintiff has not offered an explanation of why she

testified under oath that she generally took FMLA leave for her other surgeries (including a torn

rotator cuff and torn bicep tendon), without qualifying that she did not do so for another major

surgery in 2016, and why she would deny that now. Plaintiff now asserts that she does not

remember any FMLA forms prior to 2017, but she signed a return receipt for one of those forms

and received another by certified mail that her husband signed for. See Supp. Aff. Schmidt Ex.

K.

       Defendants attach exhibits (“Ex.”) to show that Plaintiff did, in fact, request FMLA in

both March and May of 2016. See Supp. Aff. Schmidt, Ex. J. The exhibits also show that

Plaintiff took leave per her request.

       Defendants note that while they believed in good faith that they had produced the 20

pages of FMLA records as part of all other personnel-related discovery, Plaintiff had never

asserted prior to filing her Objection that she had not consumed 11 of her 12 weeks of FMLA

leave available to her. Her Complaint reviews her pleas to the employer to be reinstated to her




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job. See Complaint, ¶¶ 33-36. 3 These four paragraphs take up an entire page of the Complaint,

record her multiple conversations with multiple managers and the company owner, yet not once

indicate that she should be reinstated because she had additional FMLA leave to cover the time

that she was out of work. Additionally, ¶ 14 of her Complaint asserts that she was out of work

from 3/30/16 through 5/16/16 and again for additional weeks in May 2016 2016 related to the

same condition. ¶ 41 of her Complaint inferentially acknowledges that she exhausted her

available FMLA leave. Finally, Count VII, ¶¶. 72-78 of her Complaint claims only retaliation for

utilizing FMLA time, not that she was eligible for more time than she received.

        The facts show that Plaintiff undeniably exhausted her FMLA leave in January 2017.

Plaintiff signed yearly acknowledgements regarding her familiarity with FMLA leave. (Supp.

Aff. Schmidt, Ex. K, 2009—2016 signed acknowledgment forms). The 2016 FMLA leave

notice sent to Plaintiff specifically indicates that the leave is calculated on a “’rolling’” twelve

month period measured backward from the date of any FMLA usage.” (Doc. 16-9, p. 2). A letter

to Plaintiff specifically advised her that her leave expired on January 7, 2017 but gave her

additional time to return to work. The letter also notified her that if she did not return to work by

January 23, 2017 her “FMLA leave will be expired.” (Doc. 16-11, p. 2,) emphasis added.

Accordingly, when her leave expired in January 2017 and when she failed to call her employer

until February 28, 2017, her absence from work was an abandonment of her job.

        Plaintiff makes two fundamental errors on the FMLA expiration issue. One is that she

“thought” that FMLA accrued as of January 1 each year. (See Doc. 18-1, Plaintiff’s

Memorandum of Law, p. 5, ¶ 24.1). Here, she is simply mistaken, a the FMLA form indicates

that it is a “rolling” twelve-month period for FMLA usage. The other is that Plaintiff states that


3
 And, as noted above, her deposition indicates she took FMLA when she had surgery, such as in 2016 when she
needed months of leave.

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her husband set aside her mail. (Doc. 18-1, p. 6, ¶ 30). DSM took sufficient steps to put Plaintiff

on notice of her leave by sending her mail to her legal address. DSM could not know that

Plaintiff would not instruct her husband to open her mail, or to have a practice of not doing so as

is asserted. Id. Defendants are not responsible for Plaintiff not having mail sent to her legal

address forwarded to her or read to her when received at that address. It approaches willful

blindness to be out of work and ignore mail from one’s employer. Although Plaintiff says she

was incommunicado while at the Palms facility (Doc. 18-2, Artesi Affidavit, ¶ 15), she could

make calls by January 4, 2017, and testified at deposition that she returned to New Hampshire on

February 8, 2017 yet never called anyone at DSM until February 28, 2017 when she first phoned

one of her managers at the store. (Artesi Aff. ¶ 15; Artesi Depo. pp. 86:18-23; 97:17; 136:17-23;

138:7-14; 142:2-14; 143-144). The only reason she didn’t know that her FMLA ran out on

January 7 was she failed to ask her husband to look at her mail.

       Accordingly, Plaintiff was appropriately separated from her employment due to her

abandoning her position by being absent from that position while lacking FMLA to cover her

absence.

       II.      THERE WAS NO RETALIATION FOR PLAINTIFF’S FMLA REQUEST

       Plaintiff was not retaliated against for filing for FMLA as she had previously filed for

FMLA on multiple occasions, without retaliation. As noted, Plaintiff testified that she took

FMLA leave “[P]robably [for] all my surgeries.” Artesi Depo., 122: 8-9. She neither complains

about, nor was she retaliated against before for her prior FMLA leave. As also noted, she cannot

revise her prior testimony. See Escribano-Reyes, supra. She took FMLA before. She does not

claim prior retaliation. Perhaps most importantly, Plaintiff cites no facts to show that Defendants




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retaliated against her because she took FMLA leave. See Plaintiff’s Memo of Law, §V, pp. 23-

24.

         Defendants, conversely, have shown that Plaintiff exhausted her available FMLA leave

in 2017 and was terminated after she was gone from work without leave. Defendants also show

that Plaintiff was given proper FMLA notice in 2016. 4 See Supp. Aff. Schmidt Ex. J, K and L.

Further, Plaintiff states no facts to show that she could have actually structured her leave

differently to avoid exhausting her FMLA in 2017. She makes only a conclusory statement that

she would have done things differently had she known of her dwindled FMLA. 5 The only

evidence she has presented is that she was out of work, and needed to be, for all of January and

February 2017. 6 Plaintiff’s “burden to present evidence that it would have been medically

possible for [her] to structure [her] leave differently distinguishes [her] case from Conoshenti

…[remainder of citation omitted].” Bellone v. Southwick-Tolland Regional School Dist., 748

F.3d 418, 424 (1st Cir. 2014), emphasis added. Here, because Plaintiff does not show that it was

medically 7 possible to restructure her leave differently, she could not have a claim for FMLA

interference even if she had not gotten the proper FMLA notice – which she received, in any

event.




4
  Plaintiff’s argument in §IC of her Memo of Law is therefore inapposite.
5
  Plaintiff testified that a friend of hers, Marc Plante, “just went ahead” and found someplace for her to seek
treatment because she had been thinking about it and she asked him, and circumstances made her need treatment at
that time. (Plaintiff Depo. pp. 55-56; 58). There is no indication from her sworn testimony that her admission to the
Florida facility was under consideration for any period of time; rather her testimony establishes that it was an urgent
admission based on her condition. Mr. Plante made the arrangements, got the facility to arrange air travel, and then
drove her to the airport once the facility confirmed it could take her in. This all took place in one evening. Id.
6
  One hardly takes the step of going to a lock-down rehabilitation facility (the Palm Partners, Doc. 18-2, ¶ 15) where
one is held unable to communicate without significant need.
7
  Plaintiff submits via affidavit that she would have not gone to treatment on 12/29/16 if she’d known she was short
of FMLA leave. Two issues arise: one, this is not medical evidence that she could forego treatment; two, she was
given notice of the status of her prior FMLA leave, via certified mail that she received in March and May of 2016.
See Exhibits J and K to Supplemental Schmidt Affidavit.

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         III.     IT WAS REASONABLE FOR DSM TO THINK THAT PLAINTIFF WAS
                  NOT RETURNING TO WORK.

         Plaintiff did not request any accommodation in the form of further leave time in January

2017 when DSM notified her that leave expired on January 7, 2017 and she would be required to

return to work by January 23, 2017. This despite having availed herself of FMLA leave on at

least four prior occasions, and after signing seven years of FMLA notice acknowledgements.

Nevertheless, DSM extended her leave beyond January 7, 2017, to January 23, 2017. See Doc.

16-11. After that time, Plaintiff was not in direct contact with DSM regarding her circumstances

for several weeks. Although she had limited communications out of the Palm Partners facility,

she left there on January 4, 2017. (Doc. 18-2, Artesi Affidavit, ¶ 16). She was “allowed to use a

telephone” as of January 4. (Id., ¶15. 8) Despite this, she did not herself contact DSM to ask for

accommodation. Her husband called DSM on February 10, 2017, almost a month after she could

use a phone, to advise DSM that she could not return to work. (Doc. 18-18, Plaintiff’s

chronology, p. 1). Plaintiff’s doctor wrote a note for a later return to work, dated February 22,

2017; however, the return to work clearance was not until March 6, 2017, some two months after

the expiration of her available leave time. Id., p. 1. Plaintiff herself did not call anyone at DSM

until February 28, 2017, twenty days after she had returned to New Hampshire on February 8th.

(Artesi Depo. pp. 86:18-23; 97:17; 136:17-23; 142:2-14).

         DSM’s actions were at all times reasonable and not violative of any applicable state or

federal laws. (See argument in Defendants’ Memo of Law, Doc. 16-1, at p. 9.)




8
 Plaintiff’s assertion that her husband did not open her mail while she was away is unhelpful to her for reasons
noted in §I. If nothing else, when Plaintiff was in phone communication, she should have made arrangements to
know the contents of her employer’s written communication with her, by some means.

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         IV.      PLAINTIFF WAS NOT SUBJECT TO DISCRIMINATION BASED ON
                  GENDER OR DISABILITY.

         Plaintiff claims but offers no facts to support that she was discriminated against based on

gender and/or disability. Her claims are dispelled by: 1) her past history of use of FMLA leave,

and 2) her testimony relating to DSM’s treatment of similarly situated employees.

         As to her past history, we know that Plaintiff took FMLA leave “[P]robably [for] all my

surgeries.” (Artesi Deposition, pp. 122: 8-9), and more specifically on four prior occasions in

2005, 2010, 2011 and 2013. (Plaintiff Depo. pp. 60:21-23; 61:1-2; 114:10-23; 115:1-23; 116-

117; 119:7-23; 120:1-2; Supp. Aff. Schmidt Ex. J, K and L).

         As to similarly situated employees, Plaintiff testified that a disabled woman, “Theresa

G.,” 9 had several serious medical conditions, “extremely exhausted her FMLA leave,” and was

not terminated. Artesi Deposition, 156:5-12. Plaintiff had pleaded this differential treatment in

her Complaint. Doc. 1-1, ¶41. But Ms. G’s gender and rather similar disability directly disproves

Plaintiff’s assertion that Defendants discriminate based on these grounds.

         V.       PLAINTIFF WAS NOT SUBJECT TO A HOSTILE WORK
                  ENVIRONMENT DUE TO EITHER DISABILITY OR GENDER.

         Plaintiff fails to state facts to support claims for hostile work environment based on either

disability or gender, or both together. In addition to the standard set forth in Defendants’ initial

Memo of Law, Defendants note that “[T]he conduct must be so severe or pervasive that it

amounts to a change in the terms and conditions of employment.” Burns v. Johnson, 829 F.3d 1,

18 (1st Cir. 2016), citation, internal bracketing and quotation marks omitted. Plaintiff does not

state facts to show that the conduct alleged amounted to a change in the terms and conditions of

employment.


9
 This name has been referred to by first name and initial only and redacted in part from the supporting
documentation submitted to protect privacy.

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        Plaintiff admits that the statements she asserts occurred over a period of years thus

diluting the pervasiveness of the alleged statements. The three year range she claims shows the

comments to be occasional and intermittent, not pervasive. Perhaps more important, she cites to

hearsay comments which she herself was never aware of during her employment. She attributes

seven of the comments to Mr. Labatte, but has no first-hand knowledge of these comments. 10

She claims these were related to her by Ms. Barnum – after her employment ended. Having

learned of the purported comments only after leaving the job, those comments by definition

could not be a change in the “terms and conditions of employment.” Accordingly, those

comments should not be considered for both of those reasons.

        The comments asserted, particularly those that are left after eliminating those that are

hearsay and that came after Plaintiff was no longer employed, are neither pervasive nor do they

amount to a change in the terms and conditions of employment. Further, although Plaintiff

argues that this is a jury question (see Plaintiff’s Memo, Doc. 18-1, p. 22), this Court reviews the

issues on summary judgment to determine if the evidence meets the minimum level required to

muster a claim. For determining this for in hostile workplace cases “a court must mull the totality

of the circumstances, including factors such as the ‘frequency of the discriminatory conduct; its

severity; whether it is physically threatening or humiliating, or a mere offensive utterance; and

whether it unreasonably interfere[d] with an employee's work performance.' " Maldonado-Catala

v. Municipality of Naranjito, 876 F.3d 1, 10 (1st Cir. 2017), quoting Noviello v. City of Boston,

398 F.3d 76, 92 (1st Cir. 2005), emphasis added, bracketing original, other citations omitted.




10
  Note that although she numbers the comments 1-16, number 9 is not a comment, but is a reference to Ms. Barnum
speaking to her. Numbers 10-16 thereafter are all comments allegedly told to her by Ms. Barnum.

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CONCLUSION

       For reasons set forth above, and in their initial Motion and Memorandum of Law,

Defendants request the Court grant summary judgment on all counts as to all Defendants.

                                     Respectfully submitted,

                                     DeMoulas Super Markets, Inc.
                                     And Dennis LaBatte

                                     By their Attorneys,
                                     MAGGIOTTO, FRIEDMAN, FEENEY & FRAAS, PLLC


Dated: February 18, 2020              By:    _/s/ Dona Feeney___________________.
                                            Dona Feeney, Esq. (N.H. Bar #12854)
                                            58 Pleasant Street
                                            Concord, NH 03301
                                            (603) 232-5469 or 225-5152
                                            dfeeney@mffflaw.com


                               CERTIFICATE OF SERVICE


       I hereby certify that on February 18, 2020 a copy of the foregoing has been served
through the court’s ECF filing system on Leslie H. Johnson, Esq.
                                                    __/s/ Dona Feeney_________________
                                                    Dona Feeney, Esq.




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